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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS




                                                   CIVIL ACTIONS

                                                   NO. 1:07-cv-10593-DPW

                                                   NO. 1:04-cv-11923-DPW


                             ORDER OF DISMISSAL


 Woodlock      D. J.




      In accordance with the Court's Order dated    July 22, 2011   granting

Defendants’ Motion to Dismiss Case , it is hereby ORDERED that the above-

entitled action be and hereby is dismissed.


                                                   By the Court,


  07/22/2011                                       /s/ Steve York
      Date                                         Deputy Clerk
